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  The relief described hereinbelow is SO ORDERED.



  Signed May 28, 2021.

                                                          __________________________________
                                                                 H. CHRISTOPHER MOTT
                                                          UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                             UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

    IN RE:                                          §
                                                    §              CASE NO 21-30107
    PDG PRESTIGE INC.,                              §
                                                    §
                                                    §
               Debtor.                              §

          ORDER GRANTING FIRST INTERIM FEE APPLICATION OF
          WEYCER, KAPLAN, PULASKI & ZUBER, P.C. AS COUNSEL TO
          DEBTOR AND DEBTOR IN POSSESSION (RE: DOCKET NO. 51)

          On this day came on for consideration the First Interim Fee Application of Weycer,
   Kaplan, Pulaski & Zuber, P.C. as Counsel to Debtor and Debtor in Possession (Docket No. 51)
   (the “WKPZ Fee Application”) filed herein on May 27, 2021 by Weycer, Kaplan, Pulaski &
   Zuber, P.C. (“WKPZ”), attorneys for the Debtor and Debtor in Possession. The Court finds and
   concludes that the WKPZ Fee Application contains the necessary notices under the Local
   Bankruptcy Rules, and no further notice is necessary, and that cause exists to grant the relief
   requested in the WKPZ Fee Application to the extent set forth below.

   IT IS THEREFORE ORDERED THAT:

          1.        The WKPZ Fee Application is granted as set forth herein.

        2.    All capitalized terms shall have the same meaning as ascribed to such terms in the
   WKPZ Fee Application, unless otherwise defined herein.



   ORDER GRANTING FIRST INTERIM FEE APPLICATION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C. AS
   COUNSEL TO DEBTOR AND DEBTOR IN POSSESSION (RE: DOCKET NO. 51) — PAGE 1      1960530.DOCX]
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          3.      WKPZ is awarded on an INTERIM basis fees in the total amount of $27,839.00
   and expenses in the total amount of $183.49 for the representation of PDG-P by WKPZ during
   the Application Period, subject to later and final approval of the Court.

          4.      WKPZ is authorized to deduct from any retainer on hand from PDG-P the
   amounts awarded herein, and otherwise the Debtor is authorized and directed to pay to WKPZ
   from funds of the estate the fees and expenses awarded in this Order.

                                              ###




   ORDER GRANTING FIRST INTERIM FEE APPLICATION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C. AS
   COUNSEL TO DEBTOR AND DEBTOR IN POSSESSION (RE: DOCKET NO. 51) — PAGE 2      1960530.DOCX]
